                 Case 5:17-cv-01196-XR Document 1 Filed 11/21/17 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

TEXAS NAME MERCANTILE         §
INVESTMENT, LLC,              §
                              §
     Plaintiff,               §
                              §                                          5:17-cv-1196
                                                       CIVIL ACTION NO. _______________
vs.                           §
                              §
CINCINNATI INSURANCE COMPANY, §
                              §
     Defendant.               §


                             DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE COURT:

            Pursuant to 28 U.S.C. §§1441 and 1446, Defendant Cincinnati Insurance Company

(“Defendant”) files this Notice of Removal on the basis of diversity of citizenship and jurisdictional

amount, and respectfully shows the Court the following:

            1.     Both at the time the lawsuit was originally filed, and at the time of removal,

Plaintiff Texas Name Mercantile Investment, LLC (Plaintiff) was a citizen of Texas for diversity

purposes.

            2.     Both at the time the lawsuit was originally filed, and at the time of removal,

Defendant was a citizen of Ohio for diversity purposes because it is organized under the laws of

Ohio and its principal place of business is in Ohio.

            3.     This is a civil action commenced by Plaintiff in state court in Bexar County,

Texas on August 31, 2017. Plaintiff seek contractual damages, common law and statutory bad

faith actual damages, trebled statutory damages, 18% per annum statutory penalties, common

law punitive damages, exemplary damages, and attorney’s fees. Plaintiff specifically pleaded that

it seeks monetary relief in excess of $1,000,000. Plaintiff’s Original Petition, ¶ 60. Plaintiff’s

alleged damages clearly exceed the $75,000 jurisdictional requirement.
DEFENDANT’S NOTICE OF REMOVAL - Page 1
2865102v1
01238.268
                 Case 5:17-cv-01196-XR Document 1 Filed 11/21/17 Page 2 of 3



            4.     By virtue of diversity of citizenship the United States district courts have original

jurisdiction.

            5.     Service of process in this cause along with Plaintiff’s Original Petition was served

on Defendant’s registered agent on October 18, 2017, which is not more than thirty (30) days

before the filing of this Notice of Removal, and this Notice of Removal is being filed within one

year of the date suit was first filed in state court.

            6.     In accordance with 28 U.S.C. §1446(a), the following documents relating to Cause

No. 2017-CI-16840, in the 37th Judicial District Court of Bexar County, Texas, styled Texas

Name Mercantile, Investment, LLC v. Cincinnati Insurance Company, are attached hereto as

Exhibits:

                   Exhibit A      Docket/Case Information Sheet from the 37th Judicial District Court
                                  of Bexar County, Texas

                   Exhibit B      Plaintiffs’ Original Petition

                   Exhibit C      Citation issued to Cincinnati Insurance Company and Officer’s
                                  Return for Certified Mail

                   Exhibit D      Defendant’s Original Answer

            7.     Defendant is filing a copy of this Notice of Removal with the state court and serving

same upon counsel for Plaintiffs.

            WHEREFORE, based upon 28 U.S.C. §§1441 and 1446, Defendant NGIC respectfully

requests that this action be removed to the United States District Court for the Southern District of

Texas, Houston Division, and that it be granted such other and further relief to which it may show

itself justly entitled.

                                                  Respectfully submitted,

                                                  /s/ Harrison H. Yoss
                                                  Harrison H. Yoss
                                                  Texas State Bar No. 22169030
                                                  hyoss@thompsoncoe.com

DEFENDANT’S NOTICE OF REMOVAL - Page 2
2865102v1
01238.268
               Case 5:17-cv-01196-XR Document 1 Filed 11/21/17 Page 3 of 3



                                                Matthew J. Kolodoski
                                                Texas State Bar No. 24081963
                                                mkolodoski@thompsoncoe.com

                                                THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                                700 North Pearl Street, 25th Floor
                                                Dallas, Texas 75201-2832
                                                (214) 871-8200
                                                (214) 871-8209 - FAX

                                                COUNSEL FOR DEFENDANT


                                   CERTIFICATE OF SERVICE

       I certify that on November 21, 2017, a true and correct copy of the forgoing Defendant’s
Original Answer was delivered to the following counsel for Plaintiff by electronic service:

            Chad T. Wilson
            Patrick C. McGinnis
            Chad T. Wilson Law Firm PLLC
            455 E. Medical Center Blvd., Suite 555
            Webster, Texas 77598
            eservice@cwilsonlaw.com
            cwilson@cwilsonlaw.com
            pmcginnis@cwilsonlaw.com


                                                      /s/ Harrison H. Yoss
                                                      Harrison H. Yoss




DEFENDANT’S NOTICE OF REMOVAL - Page 3
2865102v1
01238.268
